              Case 5:16-cv-00374-HE Document 41 Filed 08/18/16 Page 1 of 16


                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF OKLAHOMA

ALONZO G. DAVIDSON,

                            Plaintiff,
v.                                                     Case No: CIV-16-374-HE

HECTOR RIOS, et al.

                            Defendants.

              DEFENDANTS ROBERT PATTON AND BUDDY HONAKER’S
                  MOTION TO DISMISS AND BRIEF IN SUPPORT

        Defendants Robert Patton 1 and Buddy Honaker (hereinafter, “Defendants”), by and

through their attorney of record, Assistant Attorney General Chase H. Woodley, move this

Honorable Court to dismiss Plaintiff’s Amended Complaint [Doc. 7], pursuant to Fed. R. Civ. P.

12(b)(6). Defendants’ Motion to Dismiss should be granted for the following justifications:

     1. Defendants are entitled to Eleventh Amendment immunity for claims asserted against them

        in their official capacity;

     2. Neither Defendant is a “person” for the purpose of a 42 U.S.C. § 1983 action;

     3. Plaintiff fails to state a claim upon which relief may be granted under 42 U.S.C. § 1985;

     4. Plaintiff fails to show personal participation on the part of either Defendant—a showing

        that is essential to stating a § 1983 claim;

     5. Defendants are entitled to qualified immunity; and,

     6. Plaintiff is statutorily barred from receiving punitive damages from these Defendants.




1
Pursuant to Fed. R. Civ. P. 25(d), Joe Allbaugh should be substituted for Robert Patton as
Director of the Oklahoma Department of Corrections in Plaintiff’s official capacity claim. Joe
Allbaugh succeeded Robert Patton as Interim Director in January 2016.
             Case 5:16-cv-00374-HE Document 41 Filed 08/18/16 Page 2 of 16


                                        INTRODUCTION

       Plaintiff, Alonzo Davison, is an inmate in the custody of the Oklahoma Department of

Corrections (“DOC”) currently incarcerated at the Lawton Correctional Facility (“LCF”) in

Lawton, Oklahoma. [Doc. 7] at 1. Plaintiff is currently serving two concurrent forty-five year

sentences for the crime of Sexually Abusing a Minor Child out of Tulsa County, Oklahoma. 2

Plaintiff alleges that on or about April 12, 2015 he complained to unspecified staff at LCF that he

was experiencing abdomen pain and was refused treatment. [Doc. 7] at 3. Plaintiff alleges that on

or about August 15, 2015 Plaintiff was escorted to LCF Medical Unit due to complaints of severe

pain in his abdomen and was seen by a Dr. Mars Gonzaga who recommended Plaintiff be

transported to the Comanche County Memorial Hospital (“CCMH”). Id. at 2-3. Plaintiff alleges

that while at CCMH a Dr. Chao-Ling Wu Do diagnosed him with acute pancreatitis, secondary to

gallbladder sludge stone, hyperkalemia (high potassium), hyponatremia (low sodium), acute

kidney injury, and cholelithiasis (gallstones) and that Dr. Wu Do informed him that he would need

to have his gallbladder removed. Id. at 3.

       Plaintiff alleges that from approximately August 15, 2015 until October 1, 2015 he

experienced pain and other issues related to issues related to his gallbladder and he repeatedly

brought this to staff at LCF and that Defendants Stouffer and Gonzaga told Plaintiff that a referral

for surgery had been sent but the surgeon was waiting for the radiologist to read the ultrasound

and that sometime later he was told that the surgery was approved and the facility was waiting on

the date for the surgery. Id. Plaintiff alleges that he went to CCMH for a consultation and pre-op in
2
  See Offender Lookup information for Alonzo Davison, ODOC #198828, available at
www.ok.gov/doc. Courts may take judicial notice of facts which are a matter of public record. Tal
v. Hogan, 453 F.3d 1244, 1264 n.24 (10th Cir. 2006). The inmate information and the policies of
ODOC are public records, available through the ODOC website. The ODOC website is a source
whose accuracy cannot be reasonably questioned.
                                                 2
            Case 5:16-cv-00374-HE Document 41 Filed 08/18/16 Page 3 of 16


the month of February 2016 and he received the surgery on March 15, 2016. Id. Plaintiff alleges

that he submitted verbal and written notifications to Defendants Rios, Stouffer, Gonzaga, and

Honaker about his continued abdominal pain. Id. at 5.

                                    STATEMENT OF THE CASE

       Plaintiff has filed this instant action under 42 U.S.C. § 1983 against Defendants Rios,

Stouffer, Gonzaga, Correct Care Solutions, Honaker, GEO, Inc., and former Director Patton

alleging violation of his Eighth Amendment right to be free from cruel and unusual punishment

due to Defendants’ alleged delay in Plaintiff receiving surgery thereby demonstrating deliberate

indifference. [Doc. 7] at 3-4. Additionally, Plaintiff challenges the conditions of his confinement

at LCF. Id. at 8.     And finally, Plaintiff alleges that Defendants conspired to violate his

constitutional rights under 42 U.S.C. § 1985. Id. at 9.

       Specifically, Plaintiff is suing Defendant Patton in both his official and individual capacity

alleging that he failed to establish “Policies, Practices, and/or Customs that deny or delay inmates

within the sphere of the Oklahoma Department of Corrections in receiving timely treatment for

serious medical needs that mandate treatment contributed to and proximately cause the

above-described Eighth Amendment Violations.” Id. at 12.

       Additionally, Plaintiff is suing Defendant Buddy Honaker in both his official and

individual capacity alleging that he failed “to take action to curb the known pattern of the

denial/delay in providing medical care for inmates at Lawton Correctional Facility with serious

medical needs by Shirley Stouffer and other medical personnel constitute deliberate indifference

to Plaintiff and other prisoner’s [sic] safety. It contributed to a proximately caused the

above-described violation of the Eighth Amendment Rights [sic].” Id. at 11.


                                                 3
             Case 5:16-cv-00374-HE Document 41 Filed 08/18/16 Page 4 of 16


                                      STANDARD OF REVIEW

       When a plaintiff proceeds in forma pauperis, a court must dismiss a complaint if it does not

state a claim upon which relief can be granted. 28 U.S.C. § 1915(e)(2)(B)(ii). To survive a motion

to dismiss under Rule 12(b)(6), a complaint must include enough factual content, accepted as true,

to “state a claim to relief that is plausible on its face.” Bell Atlantic Corp. v. Twombly, 550 U.S.

544, 570 (2007). “A claim has facial plausibility when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937, 1949 (2009). Iqbal also requires that

Plaintiff plead that a government-official defendant violated the Constitution through his own

individual action. Id. at 1948.

       The Tenth Circuit holds that when evaluating a pro se prisoner complaint under the

Twombly standard, “[r]ather than adjudging whether a claim is ‘improbable, factual allegations in

a complaint must be enough to raise a right to relief above the speculative level.’” Kay v. Bemis,

500 F.3d 1214, 1218 (10th Cir. 2007); quoting Twombly, 550 U.S. at 555. “Thus, the mere

metaphysical possibility that some plaintiff could prove some set of facts in support of the pleaded

claims is insufficient; the complaint must give the court reason to believe that this plaintiff has a

reasonable likelihood of mustering factual support for these claims.” Ridge at Red Hawk, LLC v.

Schneider, 493 F.3d 1174, 1177 (10th Cir. 2007) (emphasis in original). In considering the

sufficiency of Plaintiff’s Complaint, the Court must “accept the allegations [contained therein] as

true and construe those allegations, and any reasonable inferences that might be drawn from them,

in the light most favorable to the plaintiff.” Kay, 500 F.3d at 1217; quoting Gaines v. Stenseng,

292 F.3d 1222, 1224 (10th Cir. 2002).


                                                 4
              Case 5:16-cv-00374-HE Document 41 Filed 08/18/16 Page 5 of 16


       Courts are required to construe pro se litigants’ pleadings liberally. Haines v. Kerner, 404

U.S. 519, 520-21 (1972). Even so, all parties must adhere to applicable procedural rules. Kay v.

Bemis, 500 F.3d at 1218. “[A] pro se plaintiff requires no special legal training to recount the facts

surrounding his alleged injury, and he must provide such facts if the court is to determine whether

he makes out a claim on which relief can be granted.” Hall v. Bellmon, 935 F.2d 1106, 1110 (10th

Cir. 1991). It is improper for a court to assume the role of advocate because a plaintiff is pro se. Id.

                                    ARGUMENT AND AUTHORITIES

PROPOSITION I:           DEFENDANTS ARE ENTITLED TO ELEVENTH AMENDMENT
                         IMMUNITY.

       Defendants Patton and Honaker are immune from suit for money damages in their official

capacities as employees of the Oklahoma Department of Corrections (“DOC”). A defendant

acting in his respective official capacity is not a proper defendant in this action and it is well

settled that a suit against a state official in their official capacity is, in fact, a suit against the state

itself. Kentucky v. Graham, 473 U.S. 159, 166 (1985).

       In Will v. Michigan Dep’t of State Police, 491 U.S. 58, 71 (1989), the Supreme Court left

no doubt that an official acting in his official capacity is not a “person” within the meaning of §

1983 and is immune from suit by operation of the Eleventh Amendment. See Hafer v. Melo, 502

U.S. 21, 26 (1991). “Neither the State, nor a governmental entity that is the arm of the State for

Eleventh Amendment purposes, nor a State official who acts in his official capacity is a person

within the meaning of § 1983.” Will, 491 U.S. at 71.

       Further, Congress has not abrogated the States’ Eleventh Amendment Immunity through

the enactment of 42 U.S.C. § 1983. See Quern v. Jordan, 440 U.S. 332, 345 (1979). A state or its

agency cannot be sued in federal court for violations of 42 U.S.C. § 1983. States may waive their

                                                     5
            Case 5:16-cv-00374-HE Document 41 Filed 08/18/16 Page 6 of 16


Eleventh Amendment immunity, or Congress may abrogate that immunity in some instances.

Coll. Sav. Bank v. Fla. Prepaid Postsecondary Educ. Expense Bd., 527 U.S. 666, 670 (1999).

Oklahoma has not waived Eleventh Amendment immunity. OKLA. STAT. tit. 51, § 152.1(B).

Plaintiff has named former director Robert Patton and Buddy Honaker in their official capacities

as Defendants. In doing so, he has named the state itself. The State of Oklahoma is not a person for

purposes of § 1983.

       Accordingly, the Eleventh Amendment bars Plaintiff’s claims against these Defendants in

their official capacities for money damages. See Pennhurst State School and Hospital v.

Halderman, 465 U.S. 89, 120 (1984). As a result, Defendants respectfully request this Court

dismiss the official capacity claims against them.

PROPOSITION II: PLAINTIFF FAILS TO STATE A CLAIM UNDER 42 U.S.C. § 1985.

       In order to state a claim under § 1985(3), a plaintiff must allege ‘(1) a conspiracy;
       (2) to deprive plaintiff of equal protection or equal privileges and immunities; (3) an
       act in furtherance of the conspiracy; and (4) an injury or deprivation resulting
       therefrom.’ Tilton v. Richardson, 6 F.3d 683, 686 (10th Cir.1993) (citing Griffin v.
       Breckenridge, 403 U.S. 88, 102–103 (1971)). ‘Further, in the absence of allegations
       of class based or racial discriminatory animus, the complaint fails to state a claim
       under § 1985.’ Campbell v. Amax Coal Co., 610 F.2d 701, 702 (10th Cir.1979).

E.K.J. v. Roberts, No. CIV-14-906-M, 2015 WL 672555, at *5 (W.D. Okla. Feb. 17, 2015).

Plaintiff alleges in his Amended Complaint that “[e]ach named defendant conspired to violate

Plaintiff’s constitutional rights and did violate Plaintiff’s constitutional rights, jointly and

individually, by subjecting him to pain and suffering, both physically and mentally, during a

period of over 200 days, in violation of Plaintiff’s Eighth Amendment Constitutional Rights

against cruel and unusual punishment.” [Doc. 7] at 9. Plaintiff has not and cannot allege class

based animus or racial discriminatory animus, thus Defendants Patton and Honaker are entitled to

dismissal with prejudice on Plaintiff’s conspiracy claim under 42 U.S.C. § 1985.

                                                 6
            Case 5:16-cv-00374-HE Document 41 Filed 08/18/16 Page 7 of 16


PROPOSITION III: PLAINTIFF FAILS TO STATE A CLAIM FOR AN EIGHTH
                 AMENDMENT VIOLATION AGAINST DEFENDANTS PATTON
                 AND HONAKER.

       The standard for an Eighth Amendment violation in relation to medical care is deliberate

indifference. Mata v. Saiz, 427 F.3d 745, 751 (10th Cir. 2005). A plaintiff can only state a claim

for deliberate indifference to a serious medical need if he shows (1) an objectively serious pain or

deprivation, and (2) a culpable state of mind on the part of the offending official. Handy v. Price,

996 F.2d 1064, 1067 (10th Cir. 1993). A delay in medical treatment can only be the basis of an

Eighth Amendment claim when (1) the delay itself results in a “lifelong handicap, permanent loss,

or considerable pain,” and (2) officials “were aware of facts from which they could infer that the

delay…would cause a substantial risk of serious harm, and that they did, in fact, draw that

inference.” Garrett v. Stratman, 254 F.3d 946, 949-50 (10th Cir. 2001).

       To establish the objective component, the plaintiff must show that the “condition is one

diagnosed by a physician as mandating treatment or that is so obvious even a lay person would

easily recognize the need for medical attention.” Ramos v. Lamm, 639 F.2d 559, 575 (10th Cir.

1980). For the subjective component, a plaintiff must show that the official “knew of a substantial

risk of harm and failed to take reasonable measures to abate it.” Hunt v. Uphoff, 199 F.3d 1220,

1224 (10th Cir. 1999). The official must be both “aware of the facts from which the inference

could be drawn that a substantial risk of serious harm exists, and he must also draw the inference.”

DeSpain v. Uphoff, 264 F.3d 965, 975 (10th Cir. 2001). Even if an official knows of the

substantial risk, the official is not liable for deliberate indifference unless the official then

disregards the risk. Farmer v. Brennan, 511 U.S. 825, 837 (1994).

       a. Plaintiff fails to show that Defendant Honaker was deliberately indifferent to his
          medical needs.

                                                 7
              Case 5:16-cv-00374-HE Document 41 Filed 08/18/16 Page 8 of 16


         Plaintiff claims that Honaker was deliberately indifferent to his medical needs because he

“[through the grievance process] was made aware of the Plaintiff’s grave condition and chose to

deny him.” [Doc. 7] at 11. These allegations are legally insufficient to state an Eighth Amendment

claim.

         As noted above, deliberate indifference requires knowledge of the underlying medical

condition. But knowledge received through the grievance process is not enough for deliberate

indifference. In Howard v. Waide, an inmate sued various prison officials for Eighth Amendment

violations after other inmates sexually assaulted him. 534 F.3d 1227, 1229 (10th Cir. 2008). The

subjective standard for that type of Eighth Amendment claim is also deliberate indifference. Id. at

1236. The Tenth Circuit analyzed the claims, and found that the inmate did state an Eighth

Amendment claim against three of the officials, because he presented evidence that those officials

had knowledge of the threat. Id. at 1243. But the Circuit Court held that the inmate failed to state a

claim against a prison administrator who knew significantly less information, and only received

that information from the inmate’s grievances. Id. at 1242-43. The Tenth Circuit said that the

administrator only reviewed the grievances “in a bureaucratic vacuum far from the [prison].” Id.

at 1243.

         This Court has also indicated that knowledge of a medical condition through the grievance

process cannot establish an Eighth Amendment claim. In Sloan v. McCoy, a magistrate judge

recommended dismissal of an inmate’s Eighth Amendment claims against a defendant for almost

the same actions as Plaintiff alleges. No. CIV-10-2010, 2010 WL 4923925 at **6-7 (W.D. Okla.

Oct. 27, 2010) (adopted by Sloan v. McCoy, No. CIV-10-2010, 2010 WL 4876026 at 1 (W.D.

Okla. Nov. 23, 2010)). The inmate in Sloan claimed that the prison administrator violated his

Eighth Amendment claims because she rejected his grievances regarding dental treatment. Id. at
                                                  8
            Case 5:16-cv-00374-HE Document 41 Filed 08/18/16 Page 9 of 16


7-8. The magistrate judge recommended dismissal based on the administrator’s lack of personal

participation, but also noted in a footnote that although the inmate alleged that the administrator

had actual knowledge and denied him relief, the inmate “provide[d] no evidence demonstrating

that Defendant…had knowledge of his dental concerns outside the grievance process.” Id. at 7,

n.11. See also Kentucky v. Graham, 473 U.S. 159, 166 (1985) (stating that a government entity

can be liable on an official-capacity claim under § 1983 only when the entity itself is a “moving

force” behind the deprivation of a federal right).

       In this case, while administrators such as Honaker may have had generalized “knowledge”

of Plaintiff’s issues through the grievance process, it is, as the Tenth Circuit noted in Howard,

knowledge gained in the bureaucratic vacuum, away from the facility. Rather than actual

knowledge, administrators only had notice of Plaintiff’s complaints, not on-the-ground

cognizance of prison or medical conditions. Thus, any knowledge gained through the grievance

procedure is insufficient to meet the deliberate indifference standard. This Court should therefore

dismiss his Eighth Amendment claim against Defendant Honaker.

       b. Plaintiff fails to show that Defendant Patton was deliberately indifferent to his
          medical needs.

       Plaintiff’s deliberate indifference claim against Defendant Patton is even more tenuous

than against Defendant Honaker. As stated above, a plaintiff must show that the official “knew of

a substantial risk of harm and failed to take reasonable measures to abate it.” Hunt v. Uphoff, 199

F.3d at 1224. Nowhere in Plaintiff’s Amended Complaint does he allege that Defendant Patton

had any knowledge whatsoever of Plaintiff’s medical condition, let alone that Defendant Patton

disregarded that risk as required by Farmer v. Brennan, 511 U.S. 825, 837 (1994). This Court

should dismiss Plaintiff’s Eighth Amendment claim against Defendant Patton as well.

                                                 9
            Case 5:16-cv-00374-HE Document 41 Filed 08/18/16 Page 10 of 16


PROPOSITION IV: DEFENDANTS   PATTON   AND    HONAKER DID     NOT
                PERSONALLY PARTICIPATE IN THE ALLEGED VIOLATIONS.

       State officials are not liable in their individual capacity under Section 1983 unless the

officials personally participated in the underlying constitutional violation. Foote v. Spiegel, 118

F.3d 1416, 1423 (10th Cir. 1997). Liability cannot arise from supervisory status alone. Duffield v.

Jackson, 545 F.3d 1234, 1239 (10th Cir. 2008). Instead, the supervisor’s “exercise of control or

direction, or his failure to supervise” must have an affirmative link to the constitutional violation.

Green v. Branson, 108 F.3d 1296, 1302 (10th Cir. 1997). Simple knowledge of a complaint

through the grievance process does not create an affirmative link between a supervisor and the

alleged constitutional violation. In Stewart v. Beach, an inmate claimed that the Kansas

Department of Corrections violated his religious exercise rights by requiring him to cut his hair in

order to transfer prisons. 701 F.3d 1322, 1325-26 (10th Cir. 2012). In the suit, the inmate claimed

that the warden violated his rights by summarily denying the inmate’s grievance appeal. Id. at

1328. The district court dismissed the claims against the warden, and the Tenth Circuit affirmed

that decision. Id. at 1327, 1335. The Tenth Circuit noted that a denial of a grievance appeal, with

nothing more, does not establish personal participation. Id. at 1328. The Tenth Circuit specifically

stated that the warden’s knowledge of any violations at the time he denied the appeal was

irrelevant when his only involvement was denying the appeal. Id. The Tenth Circuit has reiterated

this point in other cases:

           • simple knowledge of water contamination through the grievance process is
             not enough. Duncan v. Hickenlooper, 631F. App’x 644, No. 15-1034, 2015
             WL 7567465 at *5 (10th Cir. Nov. 25, 2015) (unpublished).

           • failure to respond to grievance requests does not establish personal
             participation. Blaurock v. Kan. Dept. of Corrs., 526 F. App’x 809, 813-14
             (10th Cir. 2013) (unpublished).

                                                 10
            Case 5:16-cv-00374-HE Document 41 Filed 08/18/16 Page 11 of 16



       Additionally, a plaintiff alleging supervisory liability must show that “(1) the defendant

promulgated, created, implemented or possessed responsibility for the continued operation of a

policy that (2) caused the complained of constitutional harm, and (3) acted with the state of mind

required to establish the alleged constitutional deprivation.” Brown v. Montoya, 662 F.3d 1152,

1164 (10th Cir. 2011).

       In this case, the only connection that Defendant Honaker has to Plaintiff’s complaints is his

handling of Plaintiff’s alleged medical grievances and appeal. Honaker did not prevent Plaintiff

from receiving any treatment and had no role whatsoever in his treatment.

       Again, Defendant Patton’s connection to Plaintiff’s allegation is fragile. Plaintiff’s

allegations against Defendant Patton concern only his role in establishing policies at DOC and

Plaintiff alleges no direct connection on the part of Director Patton to Plaintiff’s alleged Eighth

Amendment violations.

       In order to establish liability under a theory of policy creation Schneider v. City of Grand

Junction Police Dep’t, 717 F.3d 760 (10th Cir. 2013) teaches that a Plaintiff must establish: 1) an

official policy or custom of a defendant; 2) that caused a violation of a plaintiff’s federal right or

rights; and 3) “was enacted or maintained with deliberate indifference to an almost inevitable”

violation of a federal right. Id. at 769-71.

       Plaintiff alleges Patton has a responsibility under Oklahoma law to operate the Oklahoma

Department of Corrections (“ODOC”). These allegations cannot establish that Patton personally

participated in any constitutional violations, because (1) Davison does not identify any policy that

caused the alleged harm, (2) Davison does not sufficiently alleged that Patton knew about any

such unconstitutional policy or custom, and (3) the underlying actions did not amount to a

                                                 11
            Case 5:16-cv-00374-HE Document 41 Filed 08/18/16 Page 12 of 16


constitutional violation. A fortiori, there is no allegation of a mental state on the part of Defendant

Patton at all, let alone a mental state that would rise to the level of a constitutional violation in

Defendant Patton’s alleged role in the design and implementation of various DOC policies; this

sterilizes Plaintiff’s claim under Brown v. Montoya and Schneider v. City of Grand Junction

Police Dep’t.

       Plaintiff’s challenge to the conditions of his confinement, specifically “that the kitchen at

Lawton Correctional Facility is unsanitary, has toxic levels of mold within the walls, floors, and

ventilation areas, which contribute to [Plaintiff’s] stomach problems,” [Doc. 7] at 8, also fails as a

matter of law. Plaintiff makes no allegation in his Amended Complaint that either Defendant

Patton or Honaker knew of, or were responsible for, any alleged unsanitary conditions in the LCF

facilities. Furthermore, Plaintiff fails to affirmatively link either of the Defendants to this or the

overcrowding conditions at LCF. His claims therefore fail for lack of personal participation.

       Under Tenth Circuit precedent, Plaintiff cannot state any constitutional claim against

Defendant Patton or Defendant Honaker based on these facts. This Court should dismiss

Plaintiff’s claims against Defendants Patton and Honaker because he fails to show that either

Defendant personally participated in the underlying allegations.

PROPOSITION V: DEFENDANTS PATTON AND HONAKER ARE ENTITLED TO
               QUALIFIED IMMUNITY.

       Qualified immunity shields government officials from “liability for civil damages insofar

as their conduct does not violate clearly established statutory or constitutional rights of which a

reasonable person would have known.” McInerney v. King, 791 F.3d 1224, 1230 (10th Cir. 2015).

The purpose for this immunity is to “protect the public from unwarranted timidity on the part of

public officials,” “to ensure that talented candidates are not deterred by the threat of damages suits

                                                  12
            Case 5:16-cv-00374-HE Document 41 Filed 08/18/16 Page 13 of 16


from entering public service,” and to reduce “the chance that lawsuits will distract from the

performance of public duties.” Gomes v. Wood, 451 F.3d 1122, 1134 (10th Cir. 2006) (quoting

Richardson v. McKnight, 521 U.S. 399 (1997) (internal quotation marks omitted). Qualified

immunity gives officials “breathing room to make reasonable but mistaken judgments….”

Messerschmidt v. Millender, 132 S.Ct. 1235, 1244 (2012).

       When an official raises the defense of qualified immunity, courts must evaluate that

defense by determining (1) “whether the facts that the plaintiff has alleged…or shown…make out

a violation of a constitutional right,” and (2) whether the “right at issue was ‘clearly established’ at

the time of the defendant’s alleged misconduct.” Pearson v. Callahan, 555 U.S. 223, 232 (2009)

(internal citations omitted). The “salient question…is whether the state of the law [at the time of

the conduct] gave respondents fair warning that their alleged treatment of [plaintiff] was

unconstitutional.” Pierce v. Gilchrist, 359 F.3d 1279, 1298 (10th Cir. 2004) (quoting Hope v.

Pelzer, 536 U.S. 730, 741 (2002)) (bracketing and ellipses in the original). “The contours of the

right must be sufficiently clear that a reasonable official would understand that what he is doing

violates that right.” Anderson v. Creighton, 483 U.S. 635, 639 (1987).

       The Tenth Circuit ordinarily requires a Tenth Circuit or Supreme Court decision on point

to render a rule of law to be “clearly established.” Casey v. City of Fed. Heights, 509 F.3d 1278,

1284 (10th Cir. 2007). Clearly established weight of authority from other courts can also show

that a rule of law is clearly established. Id. While qualified immunity does not require a case

directly on point, “existing precedent must have placed the statutory or constitutional question

beyond debate.” Ashcroft v. al-Kidd, 563 U.S. 731 (2011). The Tenth Circuit requires “a

substantial correspondence between the conduct in question and prior law allegedly establishing

that the defendant’s actions were clearly prohibited.” Quinn v. Young, 780 F.3d 998, 1009-10
                                                  13
            Case 5:16-cv-00374-HE Document 41 Filed 08/18/16 Page 14 of 16


(10th Cir. 2015). The “facts of the cases need not be identical, [but] they must be sufficiently

analogous to satisfy the particularized context necessary to support liability.” Eidson v. Owens,

515 F.3d 1139, 1148 (10th Cir. 2008).

       Here, Plaintiff fails to meet either prong of the qualified immunity analysis. As noted

above, Plaintiff fails to state any constitutional claim based on Honaker or Patton’s actions.

Without a constitutional violation, Plaintiff cannot overcome the qualified immunity defense.

Even if Plaintiff did state a constitutional claim, Honaker and Patton would still be entitled to

qualified immunity. Neither the Tenth Circuit nor the Supreme Court has ever found a prison

official liable for Eighth Amendment claims based solely on the handling of grievances or through

being involved in establishing operating polices. This legal theory is well-worn and baseless, so

Plaintiff cannot show that Honaker or Patton violated his clearly established rights. Defendants

Honaker and Patton are thus entitled to qualified immunity.

PROPOSITION VI: PLAINTIFF’S CLAIM FOR PUNITIVE DAMAGES IS BARRED
                BY STATUTE.

       In the “relief requested” section of Plaintiff’s Amended Complaint Plaintiff requests the

“[a]ward [of] punitive damages in the amount of $250,000.00 against each named defendant in

their individual capacity and $250,000.00 against each named defendant in their official

capacity.” [Doc. 7] at ¶ 78. Plaintiff is barred from receiving punitive damages against Defendants

in their official capacity. See City of Newport v. Fact Concerts, Inc., 453 U.S. 247 (1981); Wulf v.

City of Wichita, 883 F.2d 842, 856 n. 19 (10th Cir. 1989). Plaintiff’s claim for punitive damages

against Defendants in their official capacity should therefore be dismissed.




                                                14
            Case 5:16-cv-00374-HE Document 41 Filed 08/18/16 Page 15 of 16


                                             CONCLUSION

       For the foregoing reasons, Defendants Patton and Honaker respectfully ask this Honorable

Court to dismiss Plaintiff’s official and individual capacity claims against them and to afford these

Defendants with any relief deemed just and proper by this Court.


                                           Respectfully submitted,


                                           /s/ Chase H. Woodley
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                                                 15
        Case 5:16-cv-00374-HE Document 41 Filed 08/18/16 Page 16 of 16



                             CERTIFICATE OF SERVICE

       I hereby certify that on this ___ day of August 2016, I electronically transmitted the
foregoing document to the Clerk of Court using the ECF System for filing and transmittal
of a Notice of Electronic Filing to the following ECF registrants:

Don G. Pope                                        Alexander G. Ah Loy
DON G. POPE & ASSOCIATES P.C.                      Austin J. Young
611 SW 24th Ave., Ste. 102                         JOHNSON, HANAN & VOSLER
Norman, OK 73069                                   9801 N. Broadway Extension
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Attorney for Defendant Hector Rios, Jr.            Email: aahloy@johnsonhanan.com
                                                   Attorneys for Shirley Stoffer

      I further certify that on this date a true and correct copy of the foregoing was sent via
U.S. mail to the following who is not an ECF registrant:

Alonzo G. Davison, #198828
8607 SE Flower Mound Rd.
Lawton, OK 73501
Plaintiff Pro se
                                           /s/Chase H. Woodley
                                           Chase H. Woodley




                                              16
